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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHARLES DEMARIO JOHNSON
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. Cr. S 07-483 LKK
                                     )
12                  Plaintiff,       )        REQUEST TO VOLUNTARILY WITHDRAW
                                     )        MOTION TO VACATE SENTENCE; ORDER
13        v.                         )
                                     )
14   CHARLES DEMARIO JOHNSON,        )
                                     )
15                  Defendant.       )        Judge:   Hon. LAWRENCE K. KARLTON
                                     )
16   _______________________________ )
17        Pursuant to Rule 47, Federal Rules of Criminal Procedure,
18   defendant, Defendant, CHARLES DEMARIO JOHNSON, by and through his
19   attorney, Assistant Federal Defender David M. Porter, voluntarily
20   withdraws his motion to vacate his sentence pursuant to 28 U.S.C.
21   / / /
22   / / /
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
              Case 2:07-cr-00483-TLN Document 219 Filed 07/11/12 Page 2 of 2


 1   § 2255 filed August 8, 2011.
 2   Dated:     June 7, 2012
 3                                             Respectfully submitted,
 4                                             DANIEL J. BRODERICK
                                               Federal Defender
 5
 6
                                                 /s/ David M. Porter
 7                                             DAVID M. PORTER
                                               Assistant Federal Defender
 8
                                               Attorney for Movant
 9                                             CHARLES DEMARIO JOHNSON
10
11        I knowingly and voluntarily withdraw the motion to vacate my
12   sentence pursuant to 28 U.S.C. § 2255, filed August 8, 2011.
13   Dated:     June 25, 2012
14
                                               /s/ Charles Demario Johnson
15                                             CHARLES DEMARIO JOHNSON
                                               Movant
16
17                                           ORDER
18        Pursuant to the request filed by Mr. Johnson, and good cause
19   appearing therefor, the motion to vacate sentence pursuant to 28 U.S.C.
20   § 2255 filed August 8, 2011 is hereby DISMISSED.
21   Dated:     July 11, 2012
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     REQUEST TO VOLUNTARILY WITHDRAW MOTION
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